          Case 1:21-cr-00085-CRC Document 133-2 Filed 05/30/23 Page 1 of 9


                                                          U.S. Department of Justice

                                                          Matthew M. Graves
                                                          United States Attorney

                                                          District of Columbia


                                                          Patrick Henry Building
                                                          601 D Street, N.W.
                                                          Washington, D.C. 20530

                                                       November 30, 2022


VIA EMAIL
Robert Walters
United States Probation Officer
333 Constitution Avenue, NW
Washington, DC 20001

          RE: Sentencing Guidelines in United States v. John Strand, 21-cr-085-CRC

Dear Mr. Walters,

          As you requested, below are the government’s Sentencing Guidelines calculations for this
case.

          I.       Background

          On September 27, 2022, a jury returned a verdict of guilty on all five counts against John
Strand:

               •   Count One, Obstruction of an Official Proceeding, 18 U.S.C. § 1512(c)(2)

               •   Count Two, Entering or Remaining in a Restricted Building or Grounds, 18 U.S.C.
                   § 1752(a)(1)

               •   Count Three, Disorderly and Disruptive Conduct in a Restricted Building or
                   Grounds, 18 U.S.C. § 1752(a)(2)

               •   Count Four, Disorderly Conduct in a Capitol Building, 40 U.S.C. § 5104(e)(2)(D)

               •   Count Five, Parading, Demonstrating or Picketing in a Capitol Building, 40 U.S.C.
                   § 5104(e)(2)(G).

                                                   1
        Case 1:21-cr-00085-CRC Document 133-2 Filed 05/30/23 Page 2 of 9


        The evidence at trial showed that Strand, in personal communications with friends and
family and in his social media posts, asserted in the weeks after the 2020 Presidential Election that
the election had been stolen and that he was going to do something about it. Strand’s own
communications further showed, in the days leading up to January 6, 2021, that Strand was
determined to “stop the steal” on January 6. For example, on December 1, 2020, Strand posted a
tweet on Twitter challenging the results of the 2020 election, “This is MAJOR – full blown warfare
to SAVE THE REPUBLIC.” In another tweet that Strand posted that same day challenging the
results of the 2020 election, he wrote, “THIS. IS. WAR.” Strand included the hashtag,
“StoptheSteal” in both tweets.
        On January 5, 2021, Strand wrote on Twitter: “There's no doubt about the truth of the 2020
election. The only question is: will you act upon that truth? WILL YOU STAND FIRM? This
moment will define our country, our generation, & our national destiny. It’s now, or never.” Strand
again included the hashtag, “StoptheSteal” in the tweet.
        Strand travelled to Washington D.C. from Florida on January 5, 2021. He attended the
Stop the Steal rally on the morning of January 6, 2021, and then marched to the U.S. Capitol,
where he joined a crowd of rioters that had breached the security perimeter on the East and North
sides of the Capitol. Video evidence and testimony at trial showed Strand deliberately walking up
the steps on the East Side of the Capitol and making his way all the way to the front of a large
crowd that was trying to breach the East Rotunda Door. The crowd chanted “Stop the Steal” over
and over, echoing the same refrain that Strand had been using in his communications for the weeks
leading up to January 6.
       Within just a few feet of Strand, rioters smashed the windows of East Rotunda Door with
flagpoles and rioters assaulted officers with their flag poles. An officer testified at trial that the
smell of pepper spray was heavily present in the area, and video showed at trial demonstrated that
the sound of the East Rotunda door’s alarm was noticeable as well. Officers used a “flash bang”
to encourage the crowd to disperse. Strand, however, stood firm and remained toward the front of
the mob outside the East Rotunda Door.
        Directly in front of Strand and his former co-defendant, Simone Gold, Capitol Police
officer Joshua Pollitt was dangerously pulled down into the crowd. Others in the crowd helped
the officer to his feet. Strand made no effort to help the officer; moments later, the crowd breached
the East Rotunda Door and Strand followed them inside the Capitol Building at approximately
2:27 p.m.
        Strand’s own communications on January 6 made clear that he intended to breach the
Capitol and he was proud to have done so. He wrote to his friends that day, “I was with the first
dozen people to breach”; “We stormed the Capitol”; “Simone and I were with the first dozen
patriots to breach the Capitol.”
        Once inside the Capitol Building, Strand and Gold quickly made their way through the
Rotunda, through Statuary Hall, and into the hallway leading to the House Chamber Door. Strand,
again, worked himself up to the front of the mob, positioning himself within a few feet of a small
group of Capitol Police Officers who were trying to hold a line outside the House Chamber Door.
This area was one of the most sensitive areas in the entire Capitol Building because the House
Chamber was the primary location where the count of the electoral college vote was being held.
At the time that Strand and his fellow rioters congregated outside of it, there were still members
                                                 2
        Case 1:21-cr-00085-CRC Document 133-2 Filed 05/30/23 Page 3 of 9


of Congress and others sheltering in place in the House Chamber. Former Deputy House
Parliamentarian Kyle Jones testified at trial that he was scared for his life while he was sheltering
in place in the House Chamber at approximately this time. Capitol Police Officer Benjamin
Brockwell testified that the officers on the inside of the House Chamber door had to draw their
weapons (as shown by video evidence) in a desperate attempt to prevent rioters from taking the
House Chamber.
         Strand joined the group of rioters as they pushed past the police line and made their way
all the way into the small vestibule outside the House Chamber Door. Officer Nelson Vargas
testified at trial that it was the size of the mob, more than the actions of any individual rioter, that
caused his police line to be overrun. Vargas further testified that as he attempted to resist the mob
while being pushed toward the House Chamber Door, he banged his head against a statue. Strand
contributed to the size of the mob that overran Officer Vargas’s police line and, furthermore,
Strand placed himself at the very front of the mob.
        In the vestibule outside the House Chamber door, Strand again was surrounded by rioters
chanting the same “Stop the Steal” mantra that Strand had frequently pronounced himself in the
weeks leading up to January 6. Video evidence showed that, again, rioters used a flag pole to
smash a window within a few feet of Strand (this time, the window of the House Chamber door).
Once again, Strand stood his ground with this property-destroying mob. Other rioters nearby
Strand, as shown in trial evidence, shouted things like “use your Kevlar” as they attempted to break
down the House Chamber Door. Strand’s actions showed his support for this conduct: not only
did he remain in the vestibule for more than 15 minutes, but he resisted the efforts by officers,
including the efforts of trial witness Officer Joseph Pitts, to get him to leave the area.
        When reinforcements arrived and eventually cleared the vestibule outside the House
Chamber door, Strand and Gold attempted to give two speeches inside the Capitol. Gold first
gave a speech in Statuary Hall while Strand filmed her. Officer Austin McGoff testified that
Strand and Gold’s speech stunt made it more difficult for the officers to clear Statuary Hall. Video
evidence showed officers had to forcibly move Gold before she stopped her speech. Strand and
Gold then went into the Rotunda. Even though Strand had just seen officers forcibly stop Gold
from giving her speech in Statuary Hall, he and Gold chose to give another speech, this time
standing on top of a statue of President Dwight Eisenhower to do so. Strand, while standing on
top of the statue, placed his hand over his ear in a gesture to get the crowd’s attention, as shown in
a photograph introduced at trial.
        Although Gold’s speeches did not attract significant attention, they did attract the interest
of some rioters, and Strand and Gold thus made it more difficult for the officers to clear rioters
from the Capitol. Officers who had to deal with Strand and Gold were prevented, as a matter of
fact and a matter of logic, from assisting their fellow officers elsewhere in the Capitol as many of
those officers were under violent assault.
        In total, Strand spent more than 49 minutes inside the Capitol. His participation in the riot
contributed to the mob’s ability to delay the certification proceedings for hours. Members of
Congress and the Vice President had to be evacuated and to take shelter while Strand, among other
things, stood shoulder to shoulder with rioters who tried to smash down the House Chamber Door,
and paraded on top of a statue while his co-defendant gave a speech with a bullhorn.


                                                   3
        Case 1:21-cr-00085-CRC Document 133-2 Filed 05/30/23 Page 4 of 9


       Shortly after leaving the Capitol, Strand took a selfie on the Capitol steps and publicly
declared this on Twitter:
       “I am incredibly proud to be a patriot today, to stand up tall in defense of liberty and the
Constitution, to support Trump & #MAGAforever, & to send the message: WE ARE NEVER
CONCEDING A STOLEN ELECTION.”
        Strand also made clear that he was knowledgeable of, and proud of, his role in delaying the
certification proceedings—and thereby undermining the peaceful transfer of power. He texted his
brother within hours of leaving the Capitol and boasted that he had “made history” because “I
don’t think the US Capitol has been stormed and breached like that and it caused Pence to delay
the certification.”
        Strand testified in his defense at trial. He testified that he had not intended to go into the
Capitol. (“I had not wanted to be inside the Capitol at all. That was never my intention . . . the
force of the crowd pushing in gave us no option other than to fall in.”) He testified that he was
forced into the building by the push of the crowd (“we got, you know, pushed inside of the
building”). He testified that his only purpose in being inside the Capitol was to protect his co-
defendant Simone Gold. (“Q: If I understood your testimony correctly, you stated that your sole
purpose in entering the Capitol on January 6th was to provide security for Ms. Gold; is that correct?
A. That’s correct.”). Strand further testified that he did not realize Officer Pollitt was pulled down
into the crowd right in front of him; he testified that he thought Officer Pollitt merely tripped
because “it was very easy to trip all the time.”
        Strand also testified that it was not his intention to interfere with the certification of the
election. (“Q: [W]as it your intent, as that happened, to interfere with the certification of the
election of 2020? A. No, that was not my intent. I didn’t even realize that that official certification
was happening at that time so that wasn’t even in my consciousness.”).
        The jury, in convicting Strand, necessarily found his testimony not credible: the jury’s
verdict depended upon, among other things, (1) finding that Strand acted with the intent to obstruct
the certification of the official proceeding, and (2) finding that Strand knowingly and willfully
demonstrated and picketed in the Capitol building.

       II.     Guidelines analysis

               A.      Analysis for each count

                       Count One: 18 U.S.C. § 1512(c)(2) and § 2—attempted to and aided and
                       abetted the obstruction of an official proceeding before Congress

 Base offense level:       14           U.S.S.G. §2J1.2(a)
 Special offense           +8           U.S.S.G. §2J1.2(b)(1)(B): “the offense involved causing or
 characteristic                         threatening to cause physical injury to a person, or property
                                        damage, in order to obstruct the administration of justice.”

                                        For purposes of this enhancement, the “administration of
                                        justice” is synonymous with “official proceeding” as
                                                  4
      Case 1:21-cr-00085-CRC Document 133-2 Filed 05/30/23 Page 5 of 9


                             defined in 18 U.S.C. § 1515(a)(1), which in the Capitol riot
                             cases refers to a “proceeding before the Congress,
                             § 1515(a)(1)(B).

                             There are multiple theories for application of this offense
                             characteristic based on U.S.S.G. § 1B1.3 which
                             encompasses both the defendant’s own acts or omissions
                             and those whom the defendant aided, abetted, counseled,
                             commanded, induced, procured, or willfully caused. It
                             also includes “all harm that resulted” from the defendant’s
                             acts or the acts of others engaged in jointly undertaken
                             criminal activity with the defendant. § 1B1.3(a)(3).

                             First, Strand, prior to January 6, publicly pronounced
                             “THIS. IS. WAR” and declared “full-blown warfare to
                             save the Republic.” Although he himself did not engage
                             in violence, his mindset of supporting violence was present
                             on January 6.

                             Second, Strand forced his way to the front of the mob that
                             was attempting to breach the East Rotunda Door. Trial
                             testimony and related video evidence established that this
                             was a violent and dangerous scene, in which rioters
                             assaulted officers with pepper spray and flagpoles, and
                             rioters smashed the windows of the East Rotunda door.
                             The officers were greatly outnumbered by the rioters and
                             each member of the mob drew strength from the other
                             rioters, who contributed to the mob’s size and force.

                             Third, once inside the Capitol, Strand similarly lent
                             support to another group of rioters outside the House
                             Chamber door who, by virtue of outnumbering the officers,
                             were able to overrun a police line; caused Officer Vargas
                             to injure his head; and smashed the window of the House
                             Chamber Door.


Special offense     +3       U.S.S.G. §2J1.2(b)(2): “the offense resulted in substantial
characteristic               interference with the administration of justice.”

                             For purposes of this enhancement, the “administration of
                             justice” is synonymous with “official proceeding” as
                             defined in 18 U.S.C. § 1515(a)(1), which in the Capitol riot
                             cases refers to a “proceeding before the Congress,
                             § 1515(a)(1)(B).

                                       5
     Case 1:21-cr-00085-CRC Document 133-2 Filed 05/30/23 Page 6 of 9


                            The official proceeding of Congress’s Joint Session, which
                            was required by the Constitution and federal statute, had to
                            be halted while legislators were physically evacuated for
                            their own safety.
Adjustment         +2       U.S.S.G. §3C1.1: “the defendant willfully obstructed or
                            impeded, or attempted to obstruct or impede, the
                            administration of justice with respect to the investigation,
                            prosecution, or sentencing of the instant offense of
                            conviction, and the obstructive conduct related to (A) the
                            defendant’s offense of conviction and any relevant
                            conduct; or (B) a closely related offense”

                            Strand provided materially false testimony under oath. He
                            repeatedly testified that his only purpose in being inside
                            the Capitol was to protect Simone Gold and not to disrupt
                            the election certification. (“Q: Your testimony is that your
                            sole purpose of being inside the Capitol was to be with Ms.
                            Gold to provide her security; is that right? A. Yes, sir.”).
                            He insisted that he had no intention to disrupt the
                            certification of the election despite his many
                            communications and social media pronouncements about
                            stopping the steal and “never conceding a stolen election”
                            both before and after January 6. He even claimed that he
                            only realized that the election certification proceeding had
                            been delayed after he left the Capitol Building.

                            Strand also testified falsely that he was forced into the
                            building by the push of the crowd, and he had never wanted
                            to enter the building. (“Q; [I]f I understand you correctly,
                            that actually you were physically forced into the Capitol;
                            is that right? A. Yes, sir. We were pushed in by a crowd
                            that became violent and not peaceful at that moment.”).
                            This testimony was squarely contradicted by the video
                            evidence that showed Strand remaining at the front of the
                            mob outside the East Rotunda Door while rioters assaulted
                            officers within feet of Strand and smashed the door’s
                            window with flag poles. The video evidence then showed
                            Strand entering the building, without being pushed or
                            forced, after the rioters in front of him breached the door.

                            Further, as a third example, Strand testified that, despite
                            video evidence of Officer Pollitt being pulled down into
                            the crowd right in front of Strand, Strand believed Pollitt
                            merely tripped.



                                      6
        Case 1:21-cr-00085-CRC Document 133-2 Filed 05/30/23 Page 7 of 9


                                   Strand’s testimony was therefore materially false about
                                   essential elements of the charged crimes, including
                                   whether Strand intended to disrupt and certification,
                                   whether Strand acted corruptly, and whether Strand
                                   knowingly and willfully entered the Capitol building.
Total                   27


                      Count Two: 18 U.S.C. § 1752(a)(1)—entering and remaining in a
                      restricted building or grounds

Base Offense Level:       4       U.S.S.G. §2B2.3(a)
Special offense          +2       U.S.S.G. §2B2.3(b)(1)(A)(vii): the trespass occurred “at any
characteristic                    restricted building or grounds.”

                                  On January 6, 2021, the U.S. Capitol was restricted because
                                  protectees of the United States Secret Service were visiting.
                                  See 18 U.S.C. § 1752(c)(1)(B).
Cross Reference                   U.S.S.G. §2B2.3(c)(1): “If the offense was committed with
                                  the intent to commit a felony offense, apply §2X1.1 in
                                  respect to that felony offense, if the resulting offense level
                                  is greater than that determined above.”
Base Offense Level       25       U.S.S.G. §2X1.1(a): “The base offense level from the
(adjusted)               (from    guideline for the substantive offense, plus any adjustments
                         Count    from such guideline for any intended offense conduct that
                         One)     can be established with reasonable certainty.”

                                  Strand entered the restricted area of the Capitol complex for
                                  the purpose of obstructing the official proceeding—that is,
                                  stopping Congress from doing its work. The substantive
                                  offense is thus Count One, and the base offense level for that
                                  offense should be applied.
Adjustment               +2       U.S.S.G. §3C1.1: “the defendant willfully obstructed or
                                  impeded, or attempted to obstruct or impede, the
                                  administration of justice with respect to the investigation,
                                  prosecution, or sentencing of the instant offense of
                                  conviction, and the obstructive conduct related to (A) the
                                  defendant’s offense of conviction and any relevant conduct;
                                  or (B) a closely related offense”

                                  See discussion above.
Total                    27




                                             7
         Case 1:21-cr-00085-CRC Document 133-2 Filed 05/30/23 Page 8 of 9


                       Count Three: 18 U.S.C. § 1752(a)(2)—disorderly and disruptive
                       conduct in a restricted building or grounds

       Since there is no applicable Chapter Two Guideline for this offense in the Statutory
Appendix, use “the most analogous guideline.” U.S.S.G. §2X5.1. Here, that is U.S.S.G. §2A2.4,
“Obstructing or Impeding Officers.”

 Base Offense Level:       10         U.S.S.G. §2A2.4(a)
 Adjustment                +2         U.S.S.G. §3C1.1: “the defendant willfully obstructed or
                                      impeded, or attempted to obstruct or impede, the
                                      administration of justice with respect to the investigation,
                                      prosecution, or sentencing of the instant offense of
                                      conviction, and the obstructive conduct related to (A) the
                                      defendant’s offense of conviction and any relevant conduct;
                                      or (B) a closely related offense”

                                      Strand provided materially false testimony under oath
                                      regarding the lawfulness of his entry into the Capitol and
                                      the meaning of text messages and content posted on social
                                      media condoning violence and storming the Capitol. See
                                      U.S.S.G. § 3C1.1 n4(B).
 Total                     12

                       Counts Four and Five: 40 U.S.C. § 5104(e)(2)(D) and (G)—disorderly
                       conduct in a Capitol building and parading, demonstrating or picketing
                       in a Capitol building

       Counts Four and Five are Class B misdemeanors to which the Sentencing Guidelines do
not apply.

                B. Grouping Analysis

       Under U.S.S.G. §3D1.2(a) and (c), “closely related counts” group. Counts One, Two, and
Three comprise a single group under U.S.S.G. §3D1.2(a) and (b) because the victim of each count
is Congress.

        Under U.S.S.G. §3D1.3(a), we then determine the offense level for a group of closely
related counts, using the highest offense level of the counts in each group.

        The highest offense level is 27 (for Counts One and Two); therefore, the combined offense
level for the group of all five counts is 27.

         III.   Additional Departure

        The government may seek an upward departure under the principle in U.S.S.G. § 3A1.4,
cmt. n.4. The offense of obstruction of an official proceeding “was calculated to influence or affect
                                                 8
       Case 1:21-cr-00085-CRC Document 133-2 Filed 05/30/23 Page 9 of 9


the conduct of government by intimidation or coercion,” but that offense is not one of the
enumerated crimes of terrorism in 18 U.S.C. § 2332b(g)(5)(B).


                                                Sincerely,

                                                /s/ Jason Manning
                                                Jason Manning, Detailee
                                                April Ayers-Perez, Detailee
                                                Assistant United States Attorneys




                                            9
